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 8
                                      UNITED STATES DISTRICT COURT
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10
                                    CENTRAL DISTRICT OF CALIFORNIA

11                                                EASTERN DIVISION
12
      Sandra M. Munoz and Henry T. Munoz,                       )   Case No. CV-10-07835-GHK (FFMx)
13                                                              )
                                Plaintiff,                      )   [PROPOSED] ORDER GRANTING
14
                                                                )   JOINT STIPULATION AND MOTION
15          vs.                                                 )   TO DISMISS ENTIRE ACTION WITH
                                                                )   PREJUDICE
16
      NCO Financial Systems, Inc.,                              )
17                                                              )
                                Defendant.                      )
18
                                                                )
19

20                     Based on the Joint Stipulation and Motion to Dismiss Entire Action, with
21
      Prejudice filed in this action, the above-captioned action is hereby dismissed with
22
      prejudice.
23

24    IT IS SO ORDERED.
25

26    Dated: 7/8/11
                                                                      ________________________________
27
                                                                      HON. GEORGE H. KING
28                                                                    UNITED STATES DISTRICT JUDGE


                   [Proposed] Order Granting Joint Stipulation And Motion To Dismiss Entire Action With Prejudice
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